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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x                           October 16, 2020
   TYSON FOODS INC.,                                             :
                                                                 :
                                               Plaintiff,        :
                                                                 :     19-cv-10125 (ALC) (GWG)
                    -against-                                    :
                                                                 :     ORDER
  KEYSTONE FOOD HOLDINGS LIMITED                                 :
  (n/k/a BEEF HOLDINGS LIMITED) and                              :
  MARFRIG GLOBAL FOODS S.A.,                                     :
                            Defendants.                          :
------------------------------------------------------------x

ANDREW L. CARTER, JR., United States District Judge:

         On October 13, 2020, Plaintiff, Tyson Foods Inc., filed a request for a pre-motion
conference. Defendants shall respond to plaintiff’s request by October 20, 2020.


SO ORDERED.

Dated:           October 16, 2020
                 New York, New York

                                                                __________________________________
                                                                      ANDREW L. CARTER, JR.
                                                                      United States District Judge
